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                                   Juliana, et al. v. United States, et al.
                                        Case No. 15-cv-1517 (D. Or.)
                            EXPERT REPORT OF DR. ARTHUR PARTIKIAN


I am a medical doctor and have been so licensed in the State of California since 2003, specializing in
Pediatric Neurology and Epilepsy. I am board certified in Neurology from the American Board of
Psychiatry and Neurology with special qualifications in Child Neurology since 2008 and in Epilepsy
since 2017. I received my Doctorate of Medicine from Washington University School of Medicine, St.
Louis Missouri in 2002, followed by combined residency training from 2002-2007 in General
Pediatrics and Child Neurology at Children’s Hospital Los Angeles, which is affiliated with University
of Southern California. At present, I am a Clinical Associate Professor of Pediatrics & Neurology at the
Keck School of Medicine of University of Southern California, Los Angeles, California. I am also the
Director of the Division of Child Neurology at Los Angeles County + U.S.C. Medical Center in Los
Angeles, California, and a Senior Physician in the L.A. County Department of Health Services. I have
been dually employed by Los Angeles County and by the University of Southern California since 2007.
A true and correct copy of my curriculum vitae, which contains an accurate summary of my education,
training and experience, is attached as Exhibit 1. In addition, I have attached a listing of my recent
deposition and trial testimony as an expert as Exhibit 2.


In that capacity, I have been retained by the Defendants in the above-referenced case. Specifically, I
will be discussing whether the Plaintiffs’ experts have appropriately characterized and/or applied
standard of care medical practice in their expert opinions in this case relative to neurological impacts
referenced in those experts’ reports.


I understand that discovery in this case, including but not limited to depositions, remains ongoing.
To the extent that additional information is revealed in discovery that warrants revisiting or
supplementing my opinions and conclusions, I reserve the right to do so.


I have reviewed and am relying on the following documents and reports in this case:


    1.   First Amended Complaint for Declaratory and Injunctive Relief
    2.   Declarations of the twenty-one individual Plaintiffs in Support of Plaintiffs’ Opposition to
         Defendants’ Motion for Summary Judgment
    3.   Expert Report of Dr. Susan Pacheco and Dr. Jerome Paulson
    4.   Expert Report of Dr. Howard Frumkin
    5.   Expert Report of Dr. Lise Van Susteren, including Exhibit C Assessments of Plaintiffs



Partikian                                                                                                1
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The opinions expressed in this report are based upon my review of the above-listed records and
documents, as well as my education, training and experience. My opinions in this case are held to a
reasonable degree of medical probability and based on my clinical and educational experience in
Pediatric Neurology. I am being compensated for my work in this case at the rate of $540 per hour.
My compensation is not contingent on the outcome of this lawsuit. The views I express in this report
reflect my professional opinions only and are independent of my employers.


Drs. Pacheco and Paulson state in their expert report (p.28) that “Children exposed to certain climate
change and air pollutants, can experience changes to neurological development, with life-long
consequences.” They also site the Targeting Environmental Neurodevelopmental Risks (TENDR)
Consensus Statement that air pollutants, including nitrogen dioxide and particulate matter, are
“prime examples of toxic chemicals that can contribute to learning, behavioral or intellectual
impairment, as well as specific neurodevelopmental disorders such as attention deficit hyperactivity
disorder or autism.” They cite a study by Perrera et al. from 2014 that children exposed to higher
levels of polycyclic aromatic hydrocarbons in earlier childhood “continued to manifest adverse
neurocognitive impacts – including anxiety, depression and hyperactivity – as compared to children
with lower PAH exposure.” All three Plaintiffs’ expert reports assert that the Plaintiffs have already
suffered health effects due to climate change, and that these health effects will be worsened in the
future unless the deleterious impacts of climate change are remedied.


In order to assess the validity of the above-referenced opinions, I would expect, at the least, that
standard of care medical techniques be applied to objectively characterize and to evaluate these
various health effects and their potential causes so that accurate diagnostic conclusions may be
reached. In my review of the twenty-one Plaintiffs’ Declarations, I focused on whether there was
evidence of any direct neurological harm. In some of these Declarations, I found mention of
secondary headaches from perceived exacerbation of underlying allergies, asthma, infections and/or
excessive heat (Zealand B., Jaime B., Jayden F. and Avery M.) and perhaps some exacerbation of
primary migraine headaches (Jayden F.). However, I could not adequately assess the quality,
duration, impact, and related causal factors which could have contributed to these headache
manifestations due to a paucity of information and lack of any medical records. In particular, I found
missing the usual documentation and details that physicians should rely upon in order to
characterize an individual’s headache complaints and to formulate an appropriate differential
diagnosis, assessment, and plan of therapeutic action. At the least, an adequate medical history
regarding the headache pain quality, duration, frequency, mitigating and exacerbating factors, other
possible triggers, family history, and examination findings should be solicited and documented by a
clinician or expert. Such information is fundamental and necessary in adequately characterizing and
assessing an individual’s complaints of headaches (Lewis et al. 2002 and Pina-Garza 2013). While I


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do not contest the general concept that factors mentioned by the Plaintiffs’ experts as potentially
associated with climate change—such as excessive heat, dehydration, psychological stress, and acute
or chronic infections causing inflammation—can trigger secondary headaches or exacerbate a
primary headache condition, I do not find adequate documentation in the available records and
reports in this lawsuit to reach the conclusion as a practicing physician that climate change is the
main trigger for the Plaintiffs’ headaches.


Similarly, in order to determine that a person is suffering from other neurological insults—such as
substantial cognitive or learning deficits, cortical visual or auditory dysfunction, upper or lower
motor neuron disorders including muscle or nerve disease, developmental delays or disabilities, and
inflammatory or autoimmune diseases of the central or peripheral nervous system—I would expect
that an appropriate history be obtained, an adequate physical examination performed, and, if
indicated, additional diagnostic testing be conducted. These basic but fundamental steps of clinical
investigation, which are necessary in order to reach medical diagnoses, have not been completed by
the Plaintiffs’ experts as far I can tell. Consequently, I find no objective evidence or appropriate
diagnostic testing demonstrating that Plaintiffs are suffering from any neurological disorders
identified earlier in this paragraph. While a substantial body of literature referred to by the
Plaintiffs’ experts (in addition to others that I reviewed 1) have demonstrated an increased
association or risk of various health effects, including neurological and psychological impacts, with
climate change, these studies do not independently establish that the Plaintiffs’ specific health effects
are primarily caused by climate change and its possible repercussions. For routine medical
purposes, such diagnostic conclusions in general should be verified by standard-of-care procedures
and processes applied by an appropriately trained and experienced clinician.


Finally, the majority of the Plaintiffs and all three Plaintiffs’ Expert reports emphasize mental health
and allergy concerns. As a Pediatric Neurologist, I would defer to a mental health expert to
adequately assess an individual’s psychological complaints. From my vantage point as a Pediatric
Neurologist, the assessment of such complaints should include investigation for past or ongoing
experiences of adverse events—which might or might not be related to climate change,
familial/genetic predisposition to mental health disorders, any toxin or concurrent medication
exposures which could have psychological impacts, and any co-morbid cognitive, social and/or
physical conditions which could affect behavioral and psychological problems. Similarly, I would
defer the comprehensive medical evaluation of complaints of purported allergy or asthma symptoms
and signs to an Allergist-Immunologist.




1
    These studies, in addition to those formally referenced in my Report, are attached as Exhibit 3.

Partikian                                                                                                  3
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Arthur Partikian, M.D.
Board Certified in Epilepsy & Neurology with special qualification in Child Neurology
Report Completed on 8/13/2018




References:


Lewis, D.W. et al. “Practice parameter: evaluation of children and adolescents with recurrent
headaches. Report of the Quality Standards Subcommittee of the American Academy of Neurology
and the Practice Committee of the Child Neurology Society.” NEUROLOGY 2002;59, pages 490–498


Pina-Garza, J. Eric. “Chapter 3: Headache” in Fenichel’s Clinical Pediatric Neurology, 7th Edition: A
signs and symptoms approach. 2013, pages 76-88. Retrieved from: https://www-sciencedirect-
com.libproxy2.usc.edu/book/9781455723768/fenichels-clinical-pediatric-neurology#book-info




Partikian                                                                                               4
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                                                    CURRICULUM VITAE
                                                     ARTHUR P ARTIKIAN


PERSONAL INFORMATION :
     Work
     2010 Zonal Ave
     Building B, 3P61
     LAC+USC Medical Center
     Los Angeles, CA 90031
     Phone: 323-409-3442
     Work Email: apartiki@usc.edu;apartikian@dhs.lacounty.gov
     Personal Email: partikian@gmail.com
     Citizenship: USA

EDUCATION/APPOINTMENTS :

EDUCATION :
    Year                 Degree, Field, Institution, City
    1994                 G.E.D., Glendale High School, Glendale, CA
    1998                 B.A., Pomona College, Claremont, CA
    2002                 M.D., Washington University School of Medicine, St. Louis, MO

POST-GRADUATE TRAINING :
    Year-Year         Training Type, Field, Mentor, Department, Institution, City
    2002-2003            Internship, General Pediatrics, Children’s Hospital Los Angeles, Los Angeles, CA
    2003-2004            Residency, General Pediatrics, Children’s Hospital Los Angeles, Los Angeles, CA
    2004-2007            Residency, Child Neurology, Children’s Hospital Los Angeles, Los Angeles, CA

ACADEMIC APPOINTMENTS :
   Year-Year          Appointment                          Department, Institution, City, Country
    2008-2018            Assistant Professor of Clinical   Departments of Pediatrics & Neurology, Keck School of
                         Pediatrics & Neurology            Medicine, U.S.C., Los Angeles

    2018-present         Clinical Associate Professor of   Departments of Pediatrics & Neurology, Keck School of
                         Pediatrics & Neurology (Clinician Medicine, U.S.C., Los Angeles
                         Educator Track)

ADMINISTRATIVE & C LINICAL APPOINTMENTS :
    Year                Description                        Institution, City, State, Country
    2007-present         Director of Division of Child     LAC+USC Medical Center, Los Angeles, CA
                         Neurology
    2012-present         Medical Director of Epilepsy      LAC+USC Medical Center, Los Angeles, CA
                         Dietary Program
    2013-present         Senior Physician                  Department of Health Services of LA County, LAC+USC Medical
                                                           Center, Los Angeles, CA


LICENSURE, CERTIFICATIONS
LICENSURE
    2003               A85112, California, expires 11/30/2019


BOARD CERTIFICATION OR ELIGIBILITY
   2008                American Academy of Psychiatry & Neurology, Neurology with special qualification in Child Neurology,
                         valid through 12/31/2018

SPECIALTY CERTIFICATION
    2017                American Academy of Psychiatry & Neurology, California, Epilepsy, passed




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   HONORS , AWARDS :
    Year                 Description                           Awarding agency, address, city
    1998-2002            Distinguished Alumni                  Washington University School of Medicine, St. Louis MO
                         Scholarship
                         (full-tuition, merit based)
    2002                 Medical Student Prize for             American Academy of Neurology
                         Excellence in Neurology
    2004                 General Pediatrics Resident           Children’s Hospital Los Angeles, Los Angeles, CA
                         Award for outstanding
                         Outpatient care
    2004                 Affiliates Award for excellence       Children’s Hospital Los Angeles, Los Angeles, CA
                         In clinical care as a General
                         Pediatrics Resident
    2005                 Annual Fellow Teaching Award          Children’s Hospital Los Angeles, Los Angeles, CA
    2008 & 2011          Annual Faculty Teaching Award         Pediatrics Department, Keck School of Medicine at U.S.C.
    2012                 Recognition Award for                 The Charlie Foundation to Help Cure Pediatric Epilepsy
                         Establishing Dietary Epilepsy
                         Program at LAC+USC Center
    2014                 Passionate Performance Award          Los Angeles County Department of Health Services
                         For establishing a “regionally
                         Recognized Pediatric Epilepsy
                         Program” at LAC+USC Center
    2014                 Honorary Faculty Member               USC Gamma Chapter of Alpha Omega Alpha (AOA) Honor
                                                               Medical Society, Keck School of Medicine of U.S.C.
    2016                 Annual Faculty Teacher of the         Neurology Department, Keck School of Medicine at U.S.C.
                         Year Award


TEACHING

DIDACTIC TEACHING :
   LAC+USC Medical Center
    Year-Year        Course Name                           Units/Hrs     Role
    2007-present     Pediatric Neurology Elective          N/A           Clinical Preceptor, Elective Organizer & Lecturer:
                                                                         update & oversee clinical curriculum and
                                                                         supervision of KSOM medical students, General
                                                                         Pediatrics, combined Med-Peds, and Neurology
                                                                         rotating Housestaff
    2013-present         Epileptology Faculty              N/A           Clinical Preceptor & Lecturer for adult neurology
                                                                         epileptology fellow rotating through LAC+USC

   Children’s Hospital Los Angeles
    Year-Year             Course Name                      Units/Hrs     Role
    2009-present          Rett Syndrome Clinic Rotation    N/A           Clincal Preceptor & Lecturer



CME COURSES DEVELOPED
  Institution
    Year-Year       Course Name                            Units/Hrs     Role
    USC, 2010            Van Der Meulen Epilepsy           8             Faculty participant, Speaker
                           Conference
    CHLA, 2016           Epilepsy Update Conference        8             Faculty participant, Speaker
    USC, 2018            Van Der Meulen Epilepsy           8             Faculty participant, Speaker
                           Conference




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SERVICE


    Year-Year                 Position, Committee                             Organization/Institution
    2015                      Member, Search Committee for Chair of Child     Department of Pediatrics, Children’s Hospital
                              Neurology at CHLA                               Los Angeles
    2015-present              Faculty Member, Epilepsy Fellowship Program     KSOM at USC
                              Evaluation Committee
    2015-present              Faculty Member, Clinical Competency             KSOM at USC
                              Committee for Epilepsy Fellowship
    2017                      Member, Ad Hoc Committee of Department of       LAC+USC Medical Center
                              Neurology


DEPARTMENT SERVICE :

   HOSPITAL OR M EDICAL GROUP SERVICE :
    Year-Year               Position, Committee                               Organization/Institution
    2007-present            Member of Fetus, Infant & Child Ethics            LAC+USC Medical Center
                            Committee
    2007-present            Faculty Member, Comprehensive Epilepsy            U.S.C., LAC+USC, & Rancho Los Amigo
                            Program                                           Medical Center
    2015-present            Panelist, Qualification & Appraisal Panel         LAC+USC Medical Center

CONSULTANTSHIPS AND ADVISORY B OARDS :
   Year                   Position, Board                                     Organization/Hospital/School, Institution
   2008-present           Member, Professional Advisory Board                 Epilepsy Foundation of Greater Los Angeles
   2010-present           Neurology Consultant                                Rett syndrome clinic, CHLA
   2014-present           Neurology Consultant                                San Gabriel-Pomona Regional Center
   2011                   Invited Participant, Questcor Virtual Advisory BoardQuestcor Pharmaceuticals
   2013                   Invited Participant, Trokendi Regional              Supernus Pharmaceuticals
                          Advisory Board
   2014                   Invited Participant, Onfi Advisory Board            Lundbeck Pharmaceuticals

PROFESSIONAL SOCIETY M EMBERSHIPS :
    Year- Year        Society
    2004-present      American Academy of Neurology
    2004-present      Child Neurology Society of North America
    2009-present      American Epilepsy Society
    2014-present      Alpha Omega Alpha Medical Honor Society


   ADMINISTRATIVE SERVICE /M AJOR LEADERSHIP P OSITION :
    Year               Position              Narrative listing Accomplishments- or add appendix
    2007-present       Director              Director of Division of Child Neurology at LAC+USC. Established and continue to
                                             oversee clinical, academic, and educational goals and services of of this Division.
                                             Established pediatric EEG monitoring, dietary therapy, and neurostimulation access
                                             programs at LAC. Collaboration with USC Comprehensive Epilepsy Center & CHLA
                                             Leading efforts to recruit more pediatric neurology faculty at LAC.




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   COMMUNITY SERVICE :
    Year-Year          Position                  Organization/Institution, City,         Role or Activity
    2008-present       Member                    Epilepsy Foundation of Greater Los      Member of Professional Advisory Board,
                                                 Angeles                                 Invited Speaker at multiple annual “Care
                                                                                         & Cure” fundraising events for pediatric
                                                                                         epilepsy
    2007                 Participant             Armenian Medical World Congress         Travelled to Armenia and Karabagh with
                                                                                         Dr. Berge Minassian and provided clinical
                                                                                         care and educational support
    2010                 Medical Expert          Epilepsy California                     Testified at California State Senate
                                                                                         Health Committee regarding use of
                                                                                         Diastat Acudial (rectal diazepam) as
                                                                                         abortive therapy for students with
                                                                                         epilepsy. Bill SB 1051
    2011                 Medical Expert          Epilepsy California                     Testified at California State Senate
                                                                                         Education Committee regarding use of
                                                                                         Diastat Acudial as abortive therapy for
                                                                                         students with epilepsy.
    2011                 Medical Expert          Epilepsy California                     Spoke at California Board of Education
                                                                                         meeting regarding implementation of Bill
                                                                                         SB 1051.
    2012-present         Medical Expert          Rett Syndrome Clinic, CHLA              Spoke as expert at various fundraising
                                                                                         events sponsored by International Rett
                                                                                         Syndrome Foundation & Rett Syndrome
                                                                                         Research Trust
    2015-present         Co-creator &            “Carley’s Carbless Kitchen” monthly     Interactive cooking class open to the
                         participant             classes                                 public and co-sponsored by Carley
                                                                                         Eissman Foundation, Wellness Center

RESEARCH AND S CHOLARSHIP

M ANUSCRIPT REVIEW :
    Year-Year            Journal
    2010                 The International Journal of Neuroscience
    2010                 Current Eye Research
    2010                 Neuropsychiatric Disease and Treatment
    2011                  Journal of Paediatrics and Child Health
    2011-2014, 2017      Pediatrics
    2013                 Epilepsia
    2015, 2017           Journal of Child Neurology
    2017                 Epileptic Disorders

M AJOR AREAS OF RESEARCH I NTEREST
    Research Areas
    1. Pediatric Epilepsy, including treatment, comorbid conditions
    2. Rett Syndrome
    3. Ketogenic Diet applications
    4. Modified Atkins Diet/MCT oil Diet for adults with intractable epilepsy




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GRANT SUPPORT - CURRENT :
   Grant No. 003426-00003 (PI) (Toni Frederick, Ph.D.)                        Dates of Award: 8/2015 – present
    Agency: Eunice Kennedy Shriver National Institute of Child Health       Percent Effort: 2%
    and Human Development
    Title: Surveillance Monitoring for ART Toxicities Study in HIV-uninfected Children Born to HIV-infected Women
    (SMARTT study)
    Description: conduct & document neurological consultations for affected subjects
    Role: Neurology Consultant at LAC+USC Medical Center & Keck Medical Center of U.S.C.
    Total Direct Costs: $499,553

    Grant No. (PI) (Saman Hazany, M.D.)                              Dates of Award: 8/2015 – present
    Agency: USC Department of Neuroimaging                          Percent Effort: 10%
    Title: Ketogenic Diet Neuroimaging Study
     Description: We are conducting a pilot study to investigate the potential neuroplasticity through detecting subtle change in
     structural, biochemical, and/or functional imaging indices associated with ketosis as a means of better understanding the
     impact of the ketogenic diet on seizure control. We plan to use a 3T GE scanner on the HSC campus, with 3D SPGR, DTI,
     resting state functional MRI and ASL MRI perfusion imaging.
     Role: Co-investigator at LAC+USC Medical Center and KSOM
    Total Direct Costs: only cost of 10 scans is currently covered at HCC imaging center


    Grant No. None (PI) (Arthur Partikian, M.D.)                              Dates of Award: 9/2018-8/2019
    Agency: Vitaflo (International) Ltd.                                      Percent Effort: 25%
    Title: A pilot study on the feasibility and tolerability of Betaquik®, a special medical food containing medium chain triglycerides
    (MCT) as an adjunct to the dietary management of epilepsy and quality of life in adults on the modified Atkins diet (MAD)
    Description: This is an investigator-initiated exploratory pilot study to evaluate the gastrointestinal tolerance,
    palatability and participant adherence, over a 26 week period, of the MAD including Betaquik, for the dietary
    management of participants with intractable epilepsy at LAC+USC Medical Center
    Role: Primary Investigator
    Total Direct Costs: $91,000

    Grant No. None (PI) (Said Beydoun, M.D.)                                  Dates of Award: projected 4/2018-10/2019
    Agency: Pfizer                                                            Percent Effort: 2%
    Title: A protocol to monitor from birth to age 15 months the neurological development of infants with exposure in-utero in
    tanezumab clinical studies at all investigational sites
    Description: This is a multicenter, prospective, cohort study with enhanced physical and neurodevelopmental surveillance to
    characterize the neurological outcomes related to the development of infants up to the age of 15 months, who were exposed
    to tanezumab (a humanized IgG2 monoclonal antibody to Nerve Growth Factor), placebo or comparator via maternal
    exposure at conception or in-utero in any tanezumab clinical study. The post-natal monitoring will include assessments at
    birth (0-2 months), approximately 8 months and approximately 15 months of age and up to a maximum of 36 months of age
    as needed.

    GRANT S UPPORT - PENDING :

    Role: Primary Investigator




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    Total Direct Costs: under discussion

    Grant No. N/A (PI) (Arthur Partikian, M.D.)                               Dates of Award: projected 2019
    Agency: undetermined                                                      Percent Effort: 25%
    Title: A pilot study on the feasibility, safety and tolerability of ketogenic diet therapy for severe
    traumatic brain injury in children.
    Description: This is a pilot study to evaluate the feasibility of implementation, safety and tolerability of ketogenic
    diet therapy for severe traumatic brain injury in children admitted to the pediatric intensive care unit at LAC+USC
    Medical Center.
    Role: Primary Investigator
    Total Direct Costs: $200,000 (estimate)


GRANT SUPPORT - P AST :
   Grant No. None (PI) Arthur Partikian                                       Dates of Award: 6/2014-6/2015, renewed in 2016
    Agency: The Carley Eissman Foundation                                     Percent Effort: 10%
    Title: The Dietary Therapy Program for Children & Adults with Epilepsy
    Description: Programmatic gift which provides support for Ketogenic Dietician and extends reach of our dietary
    program to families with both public and private forms of insurance at Keck Medical Center of USC and
    LAC+USC Medical Center
    Role: P.I. and Medical Director of Dietary Program at LAC+USC Medical Center
    Total Direct Costs: $29,100 annually, renewed once in January 2016

    Grant No. EFGLA 005 (Arthur Partikian, M.D.)                              Dates of Award: 9/2012-2/2014
    Agency: Epilepsy Foundation of Greater Los Angeles                        Percent Effort: 25%
    Title: The Dietary Therapy Program for Children with Epilepsy
    Description: This grant enabled the establishment of an active Dietary Therapy Program offering the classic
    ketogenic ratio system, modified Atkins diet, MCT oil therapy, or Low Glycemic Index Diet for children seen at the
    Pediatric Neurology clinic of LAC+USC Medical Center.
    Role: As Medical Director & P.I., I was responsible for discussing dietary therapies in appropriate candidates,
    conducting diagnostic and laboratory testing to identify and prioritize patients as candidates, hiring and working
    with dedicated part-time Ketogenic Dietician, and for ongoing medical management of dietary patients.
    Total Direct Costs: $122,000

    Grant No. None (PI) (Regina Berkovic, M.D.)                               Dates of Award: 2011-2013
    Agency: Questcor Pharmaceutical                                           Percent Effort: 2%
    Title: Comparison of Monthly Pulse Acthar gel Therapy with Methylprednisolone for Long-term Treatment of
    Multiple Sclerosis as Add-On Therapy to Beta-Interferon
    Description: assess safety and efficacy of add-on ACTHar gel injections vs. Solumedrol in patients with multiple
    sclerosis receiving Avonex, Betaseron, or Rebif disease-modifying agents.
    Role: Member of Safety Advisory Committee
    Total Direct Costs: $125,024




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INVITED LECTURES , S YMPOSIA, KEYNOTE ADDRESSES
  Year      Type                     Title, Location
  2008      Invited Lecture to       “X-linked Adrenoleukodystrophy,” Kaiser Permanente, Panorama City
            Neurology Department
  2008      Invitied Lecture to      “Pediaric Neurology as a field,” Keck School of Medicine of U.S.C.
            Student Interest Group
            in Neurology
  2008      Symposia at Epilepsy     “Shortage of Pediatric Neurologists: Issues and Barriers.” Invited by USC University
            State Forum: Improving Center For Excellence in Developmental Disabilities to Sacramento, CA
            Access to Care for
            Children and Youth with
            Epilepsy in California
  2007 to   Invited Speaker &        “Childhood epilepsy: behavioral & neuropsychiatric connections.” Annual Epilepsy
  2011      Panelist                 Brain Storm Summit, Epilepsy Foundation of Greater Los Angeles. Los Angeles, CA.
  2009      Invited Lecture          “Childhood Epilepsy: Developmental & Neuropsychiatric Connections.” U.S.C.
                                     University Center for Excellence in Developmental Disabilities Grand Rounds, Los
                                     Angeles, CA.
  2013      Invited Lecture          “Seizures and Movement Disorders in Rett Syndrome,” Rett Syndrome Conference at
                                     Children’s Hospital Los Angeles,
  2015      Invited Lecture for 2    “Communication and learning in individuals with severe disabilities: From the
            hour session             perspective of an interprofessional Rett Syndrome (RS) consultation team.” Panel
                                     Speaker for California Speech-Language-Hearing Association 2015 Annual conference,
                                     Long Beach, CA
  2015      Invited Lectures         “Dietary Therapy for Epilepsy,” “The U.S.C. Dietary Program,” & “Neuropsychological &
                                     Developmental Impact of Childhood Epilepsy,” Epilepsy Summit Los Angeles,
                                     Ketogenic Dietary Conference sponsored by Charlie Foundation & Epilepsy Foundation
                                     of Greater Los Angeles, Manhattan Beach, CA. Served as co-author for White Paper
                                     regarding this conference’s proceedings
  2015      Keynote Address          “Dietary Therapy Options for Epilepsy,” at Epilepsy Awareness Day Education Expo at
  & 2016                             Disneyland, Anaheim, CA
  2016      Panelist                 “Epilepsy Workshop,” at Los Angeles Zoo, sponsored by Epilepsy Foundation of
                                     Greater Los Angeles, Burbank, CA
  2017      End Epilepsy Summit      “Advances for Pediatric Epilepsies” and “Epilepsy in Rett Syndrome,” sponsored by
                                     Epilepsy Foundation of Greater Los Angeles, Universal City, CA




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   INVITED GRAND R OUNDS, CME LECTURES
     Year   Type                     Title, Location
     2008   Child & Adolescent       “Leukodystrophies presenting with psychiatric manifestations,” LAC+USC Medical
            Psychiatry Department    Center
            Grand Rounds
     2008   Neurology Grand Rounds   “X-linked Adrenoleukodystrophy,” Keck Medical Center of U.S.C.
     2009   Pediatrics Grand Rounds  “Update on Infantile Spasms,” LAC+USC Medical Center
     2009   Neurology Grand Rounds   “Update on Infantile Spasms,” Children’s Hospital Los Angeles
     2009   CME Lecture              “Treatment of Neonatal Seizures: out with the old and in with the new?” Academic Day
                                     Conference for Neonatologist of Southern California at Children’s Hospital of Orange
                                     County, CA
     2010   CME Lecture              “Epilepsy in Children and Adolescents.” Van Der Meulen Conference sponsored by
                                     USC Department of Neurology, Los Angeles, CA
     2010   Pediatrics Grand Rounds  “Childhood Epilepsy Syndromes and their Neurodevelopmental Impact,” Children’s
                                     Hostpial Los Angeles
     2011   Pediatrics Grand Rounds  “Childhood Epilepsy Syndromes and their Neurodevelopmental Impact,” LAC+USC
                                     Medical Center
     2013   CNE Lecture & Symposia   “Childhood Epilepsy and its Neuropsychiatric Impact”. Plenary presentation of Epilepsy
                                     Update: Students with Seizures at 63rd Annual State Conference of the California
                                     School Nurses Organization, San Diego, CA.
     2014   Pediatric Grand Rounds   “Impact on Behavioral Problems on Quality of Life in Children with Epilepsy,” LAC+USC
                                     Medical Center.
     2015   CME Lecture              “Dietary Therapy for Epilepsy,” Epilepsy Summit Los Angeles, Ketogenic Dietary
                                     Conference sponsored by Charlie Foundation & Epilepsy Foundation of Greater Los
                                     Angeles, Manhattan Beach, CA.
     2015   4 CNE lectures           “Administration of Diastat & Intranasal Formulations in the Pipeline” and “Childhood
                                     Epilepsy and its Neuropsychiatric Impact.” Plenary presentation at Annual State
                                     Conference of the California School Nurses Organization (CSNO) in Anaheim, CA & at
                                     Southern California Regional CSNO Annual Conference in Monrovia, CA
     2015   Short Course             “Communication and Learning in Individuals with Severe Disabiliites: from the
                                     perspective of an Interprofessional Rett Syndrome Consultation Team.” 2015 Annual
                                     meeting of California Speech Language and Hearing Association, Long Beach, CA
     2016   CME lecture              “Home & School Seizure Rescue Plans,” 2016 Epilepsy Update sponsored by CHLA
                                     Epilepsy Department, Anaheim, CA
     2017   CME lecture, 2 hour      “Communication & Learning in Individuals with Severe Disabilities: Perspectives from
            session                  an Interprofessional Rett Syndrome Team,” at the 2017 American Speech-Language-
                                     Hearing Association national convention, Los Angeles, CA
     2017   Grand Rounds             “Neurodevelopmental and Psychological Impact of Childhood Epilepsy,” Grand Rounds,
                                     Neurology Department, Harbor UCLA Medical Center
     2017   CE Webinar Lecture       “Refractory Epilepsy Patients: Management Options when Drugs Fail,” Webinar
                                     sponsored by Nutricia Learning Center
     2018   Grand Rounds               “Neurodevelopmental & Behavioral Impact of Childhood Epilepsy on Quality of
                                       Life: Beyond Seizure Control,” Grand Rounds, Neurology Department, Keck School of
                                       Medicine of USC


PUBLICATIONS :

REFEREED J OURNAL ARTICLES :
  Format: Authors, Title. Journal. Volume #(Suppl ##):Page-Page, Year. PMID#, PMCID#,
  Narrative describing personal contribution.

   Garza-Lopez R.A**., Byun D., Orellana K., Partikian A., Siew D., Yu A., and Kozak J.J. ‘Order-Disorder’ Phenomena in a
   Diffusion-Reaction Model of Interacting Dipoles on a Surface. J Chem Physics. 103: 9413-9417, 1995. Conducted modeling
   of diffusion reactions using linear algebra computer programming under supervision of college mentor.

   Partikian A, Olveczky, B, Swaminathan R. Li Y, Verkman AS.** Rapid diffusion of green fluorescent protein in the
   mitochondrial matrix. Journal of Cell Biology. 140(4):821-9, 1998. PMID: 947203. Conducted all FRAP (fluorescence
   recovery after photobleaching) experiments at UCSF, assisted with manuscript preparation and poster presentation under
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   Conducted computer modeling of mutagenesis experiments impacting three-dimensional protein structure of FLAP
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   Edited manuscript for grammar and clarity.

   Sun X, Wu P, Zheng L, Thrower D, Partikian A, Qiu J, Shen B.** Suppression of Saccharomyces cerevisiae rad27 null
   mutant phenotypes by the 5' nuclease domain of Escherichia coli DNA polymerase I. Present Gen. 41(6):379-88, 2002.
   PMID: 12228807. Provided benchtop support to senior researchers under mentorship of Dr. Shen at City of Hope Beckman
   Research Institute as summer research assistant. Edited manuscript for grammar and clarity.

   Partikian, A** and Mitchell, WG.** Iatrogenic Botulism in a Child with Spastic Quadriparesis. J Child Neurol. (10): 1235-
   1237, 2007. PMID: 17940253 . Organized clinical data, composed and edited manuscript, served as co-first author

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   22(12):1360-1366, 2007. PMID: 18174552. Collected and analyzed data, composed and edited manuscript, served as co-
   first author

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   Window for Thrombolytic Treatment in Pediatric Stroke. Journal of Pediatric Neuroradiology, 1(2): 2012. DOI: 10.3233/PNR-
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   and helped to analyzed data, overseeing manuscript composition and editing, served as senior and corresponding author.

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   Quality of life and behavioral problems in children with epilepsy and developmental disability. Designed study, collected and
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   Lowe JM, Rosas H, Kalayjian L, Partikian A. Development of a teaching kitchen for the Modified Atkins Diet. 5th Global
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   disability and trauma exposure in Hispanic children with epilepsy. Preventive Medicine annual conference 2017

   Yano S, Partikian A, Bluml S, Moseley K, Watanabe Y, Saitau H, Matsumoto N. Aspartate supplementation for Aspartate-
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   March 20, 2008. Dan Hurley. “Neurologists’ reaction varies widely to FDA safety alert on botulinum toxin for cerebral palsy.”
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   May 26, 2010. Steve Lopez. “Jumping down the rabbit hole in Sacramento.” Los Angeles Times. I was interviewed
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   October 18, 2016. “Rett Syndrome, a rare and devastating neurological disorder,” ABC7 News segment interview, Los
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   featured in this documentary by executive producer Deborah Oppenheimer.




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Deposition Testimony of Arthur Partikian, M.D. over the last four years:


Shawn Gates vs. Home Depot (Case No: CV177200), Plaintiff Attorney that retained
me: Richard Staskus. Deposition in September 2015. Cases involved head trauma
and epilepsy.

Jacob & Lisa Castellanos vs. Kaiser Foundation Health Plan (OIA #12809). Plaintiff
Attorney that retained me: Paul Rosenfield of Gans & Rosenfield. Deposition on
March 10, 2016. Case involves neonatal encephalopathy.

Ashley Taylor vs. University of Utah (Case No: 140903769). Plaintiff Attorney that
retained me: James W. McConkie. Deposition on 2/24/2017. Case involves
baclofen pump failure.

Tor vs. Hamzeh MD et al (Case No: 52-4850-01). Co-retained by Defense:
Mark Franzen of Carroll, Kelly, Trotter, Franzen & McKenna and Curtis Holmes,II of
BROBECK, WEST, BORGES, ROSA & DOUVILLE LLP. Deposition on 3/30/2017. Case
involves neonatal brachial plexus injury and neonatal encephalopathy.

Isabella Juliet Madrid vs. Adventist Medical Center-Reedley et al. (Case No. 13 CECG
03829). Retained by Plaintiff Attorney Mr. Van Wagenen of Law Offices of Davis &
Van Wagenen located in Fresno. Deposition on 4/27/2017




All Trial Testimony:

Tor vs. Hamzeh MD et al (Case No: 52-4850-01). Retained by Defense:
Curtis Holmes, II of BROBECK, WEST, BORGES, ROSA & DOUVILLE LLP. Trial
testimony on 5/8/2017 at the Superior Court of Orange County, Santa Ana, CA. Case
involves neonatal brachial plexus injury and concern for neonatal encephalopathy.
